Case 2:23-cv-01668-JMA-JMW Document 54 Filed 04/29/24 Page 1 of 2 PageID #: 377




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
   --------------------------------------------------------------------X      Index No.:

   JADA WINTERS,                                                            Case No.: 23-cv-1668

                                               Plaintiff,
                                                                              NOTICE OF MOTION FOR
                             -against-                                        SUMMARY JUDGMENT IN
                                                                            DECLARATION
                                                                              LIEU OF COMPLAINT
                                                                                         OF
   PHOUNTAIN PH HOLDINGS CORP. and PATRICK                                  JOSEPH MYERS
   COOLEY,

                                                Defendants.
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   I, JOSEPH MYERS, an attorney licensed by the State of New York and admitted to practice in

 the United States District Court of the Eastern District of New York, do hereby certify the following:

    1. I am an Associate with the firm, Phillips & Associates, PLLC, the attorneys for Plaintiff, Jada

         Winters, (“Plaintiff”) in the above-entitled action, and as such, am fully familiar with the facts

         and circumstances contained herein.

    2. I submit this Declaration in support of Plaintiff’s Motion for Default Judgment against

         Defendant Phountain PH Holdings Corp.

    3. Attached hereto as exhibits are the following:

             a. Exhibit A – Complaint;

             b. Exhibit B – Clerk’s Certificate of Default;

             c. Exhibit C – Court’s Order dated January 18, 2024;

             d. Exhibit D – Court’s Order dated March 7, 2024; and

             e. Exhibit E – Proposed Default Judgment.

        WHEREFORE, for the reasons set forth in accompanying Memorandum of Law, Plaintiff

 respectfully requests that the Court grant Plaintiff’s Motion for Default Judgment against Defendant
Case 2:23-cv-01668-JMA-JMW Document 54 Filed 04/29/24 Page 2 of 2 PageID #: 378




 Phountain PH Holdings Corp.

 Dated: Garden City, New York
        April 29, 2024

                                                Respectfully Submitted,

                                                /s/ Joseph Myers
                                                Joseph Myers, Esq.
                                                Phillips & Associates, PLLC
                                                Attorneys for Plaintiff
                                                585 Stewart Avenue, Suite 410
                                                Garden City, NY 11530
                                                (212) 248-7431




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